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                    UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE


United States of America

              v.                          Criminal No. 12-cr-60-01-JD

Jimmy F. Ambrosi

                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

17)   filed    by   defendant   Ambrosi   is   granted.         As   counsel   for

co-defendant Andrew Wojtowicz assented to this motion, trial is

continued as to both defendants to the two-week period beginning

September 18, 2012, 9:30 a.m.

      Defendant Ambrosi shall file a waiver of speedy trial rights

within 10 days.       The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public and

the defendant in a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for

the reasons set forth in the motion.

      SO ORDERED.



                                          /s/ Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:    June 11, 2012

cc:   Jonathan Saxe, Esq.
      Jaye Rancourt, Esq.
      Debra Walsh, Esq.
      U.S. Marshal
      U.S. Probation
